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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
 MKM:TH/MKP                                         271 Cadman Plaza East
 F. #2017R01840                                     Brooklyn, New York 11201



                                                    August 30, 2018


 By Hand and ECF

 The Honorable Nicholas G. Garaufis
 United States District Judge
 United States District Court
 225 Cadman Plaza East
 Brooklyn, New York 11201

               Re:      United States v. Keith Raniere, et al.
                        Criminal Docket No. 18-204 (NGG) (S-1)

 Dear Judge Garaufis:

                The government respectfully writes in response to the defendant Keith
 Raniere’s submission, dated August 28, 2018, seeking closure of court proceedings relating
 to an anticipated motion for pretrial release on bond.

                 In United States v. Alcantara, 396 F.3d 189 (2d Cir. 2005), the Second Circuit
 set forth the procedures to be followed before a court may close criminal proceedings. The
 court explained:

               [A] motion for courtroom closure should be docketed in the
               public docket files maintained in the court clerk’s office. The
               motion itself may be filed under seal, when appropriate, by
               leave of court, but the publicly maintained docket entries should
               reflect the fact that the motion was filed, the fact that the motion
               and any supporting or opposing papers were filed under seal, the
               time and place of any hearing on the motion, the occurrence of
               such hearing, the disposition of the motion, and the fact of
               courtroom closure, whether ordered upon motion of a party or
               by the Court sua sponte. Entries on the docket should be made
               promptly, normally on the day the pertinent event occurs.

 Id. at 200 (citations omitted). The Second Circuit in Alcantara also reiterated that “[b]efore
 excluding the public from [criminal] proceedings, district courts must make findings on the
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 record demonstrating the need for the exclusion.” Id. at 192. It observed that “[t]he power to
 close a courtroom where proceedings are being conducted during the course of a criminal
 prosecution . . . is one to be very seldom exercised, and even then only with the greatest
 caution, under urgent circumstances and for very clear and apparent reasons.” Id. (quoting
 United States v. Cojab, 996 F.2d 1401, 1405 (2d Cir. 1993)).

                 The Second Circuit has identified “four steps that a district court must follow
 in deciding a motion for closure.” United States v. John Doe, 63 F.3d 121, 128 (2d Cir.
 1995). First, the Court must identify, through specific findings, whether there exists “a
 substantial probability of prejudice to a compelling interest of the defendant, government or
 third party.” Id.; see also United States v. John Doe, 2015 WL 6444945, at *3 (2d Cir. Oct.
 26, 2015) (summary order). The Circuit has provided specific, illustrative examples of such
 compelling interests, including the defendant’s right to a fair trial, the privacy interests of the
 defendant, victims or other persons, “the integrity of significant government activities
 entitled to confidentiality, such as ongoing undercover investigations or detection devices,”
 and danger to persons or property. John Doe, 63 F.3d at 128; see Woods v. Kuhlmann, 977
 F.2d 74, 76-77 (2d Cir. 1992) (finding no error in partial closure of a courtroom for the
 testimony of a witness who “was ‘scared to death’ because she had been threatened by at
 least one member of the defendant’s family,” after the “trial judge adequately assessed the
 scope of [the witness’s] fear.”).

                The defendant’s thirteen-page submission fails to identify any compelling
 interest supporting courtroom closure of a pretrial detention hearing or the sealing of
 potential suretors’ identities. The defendant argues, without factual support, that he and “his
 supporters” have been the subject of “increasing negative press, including false and
 defamatory statements,” and that critics of Nxivm may have access to personal information
 about these potential suretors that could be published if their identities were made public.
 Def. Mot. at 5. Even if the Court were to credit these claims, they do not provide a sufficient
 basis for the Court to make specific findings that there is a “substantial probability of
 prejudice to a compelling interest” of any party; the defendant alleges only generalized fears
 of negative media attention, including in a blog critical of Nxivm, whose author publicly
 admits to writing “fictional stories” to make the defendant “look ridiculous,” Def. Mot at 6
 n.6. 1 These allegations, which are not particularized to any individual or potential suretor,
 cannot support a motion for courtroom closure.




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               The defendant’s suggestion that the author of the blog is the recipient of a
 “steady stream of law enforcement leaks” is false.


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                In circumstances where “a conclusory or wholly implausible allegation of
 danger is presented,” as in this case, “a district court may be justified in denying a closure
 motion without making any explicit findings of fact.” Doe, 63 F.3d at 130. Accordingly, the
 government respectfully submits that because the defendant’s motion does not provide a
 sufficient basis for courtroom closure or sealing, it should be summarily denied.



                                                    Respectfully submitted,

                                                    RICHARD P. DONOGHUE
                                                    United States Attorney

                                            By:       /s/
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 cc:    Clerk of Court (NGG) (by ECF)
        Defense Counsel (by ECF)




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